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                      EXHIBIT 1
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Practitioner’s Corner

Justin McCrary* and Daniel L. Rubinfeld

Measuring Benchmark Damages in Antitrust
Litigation
Abstract: We compare the two dominant approaches to                     is a comparison of the forecasting and dummy variable
estimation of benchmark damages in antitrust litigation, the            approaches, which we define in Section 3. Our analysis
forecasting approach and the dummy variable approach. We                underscores that these competing approaches to com-
give conditions under which the two approaches are equiva-              puting benchmark damage estimates often yield similar
lent and present the results of a small simulation study.               estimates, despite seemingly different implementation
                                                                        schemes.
Keywords: antitrust; damages estimation; law and                             We are not the first to consider the advantages and
economics.                                                              disadvantages of each of these methodologies.3 However,
                                                                        we believe many of the results comparing the forecast-
*Corresponding author: Justin McCrary, Professor of Law, U.C.           ing and dummy variable approaches, while straight-
Berkeley; and Faculty Research Associate, NBER,                         forward, are underappreciated. In order to focus on the
E-mail: jmccrary@law.berkeley.edu                                       central methodological issues, we begin in Section 2 by
Daniel L. Rubinfeld: Robert L. Bridges Professor of Law and Professor
                                                                        describing the basic regression framework and defining
of Economics Emeritus, U.C. Berkeley; Professor of Law, NYU; and
Faculty Research Associate, NBER                                        the object of interest. In Section 3, we discuss alternative
                                                                        versions of the dummy variable approach, offering in the
                                                                        process a suggestion as to how to compare the various
1 Introduction                                                          methodologies. We also describe the forecasting approach
                                                                        and compare it to the dummy variable approach. Section 4
The quantitative evaluation of monetary damages from                    presents three propositions that directly compare the
alleged antitrust violations occupies a central place in                dummy variable and forecasting approaches. The propo-
antitrust litigation. The two most common approaches to                 sitions tend to support the use of the dummy variable
evaluating damages involve the use of yardsticks and bench-             approach over the forecasting approach. However, there
marks.1 In a typical yardstick approach, one compares prices            are particular advantages associated with the forecasting
during the period in which the antitrust violation is believed          approach, and these are discussed in Section 5. In Section 6,
to have had an effect (the “impact period”) to prices in other          we return to the dummy variable approach, discussing
markets that are deemed to be reasonably comparable to the              some important model specification issues. In Section 7,
market at issue. In contrast, the benchmark approach evalu-             we offer an example that illustrates the differences
ates prices only in the market at issue, comparing prices in            between the various approaches. Section 8 concludes.
the impact period to available prices before and/or after the
alleged period of impact (the “control period”).
     In this paper, we offer a detailed evaluation of the               2 The Basic Model
benchmark approach to damages. We have found the
benchmark approach to be the most commonly used                         Let Yt denote the price of the product in question, Xt a
damages methodology. To focus the analysis, we assume                   vector of exogenous covariates (e.g., demand and cost
that the antitrust violation at issue involves price fixing.            variables), and Dt a dummy variable indicating the period
We also assume that the appropriate legal remedy involves               of the alleged conspiracy, i.e., the impact or conspiracy
overcharges rather than lost profits.2 Our particular focus             period.

1 Alternative approaches involve variations on the yardstick ap-        3 See, for example, Salkever (1976), Fisher (1980), Rubinfeld and
proach, such as a comparison of rates of return and/or profit margins   Steiner (1983), Rubinfeld (1985, 2008), and Higgins and Johnson
across industries.                                                      (2003). See especially White, Marshall, and Kennedy (2006); those
2 For a broad discussion of these alternative measures, see Hoven-      authors strongly prefer the forecasting approach and are highly criti-
kamp [2005, section 17.5(a)].                                           cal of the dummy-variable approach.


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    We assume that there are data both before and during                                            Yt(1) = α+δ+(β+γ)′Xt+ut(2)
the alleged conspiracy period. Let T0 denote the last                                                   Yt(0) = α+β′Xt+vt(3)
period prior to the beginning of the alleged conspiracy, so
that t = 1, 2, …, T0 corresponds to the pre-conspiracy control                   where Yt(1) is price under conspiracy conditions, Yt(0)
period and t = T0+1, T0+2,…, T0+T1 to the conspiracy period.                     is price under non-conspiracy conditions, and ut and
Define the total number of periods as T = T0+T1. We assume                       vt are mean zero residuals that are uncorrelated with
throughout that price is generated according to                                  Xt (Rubin 1974; Imbens 2004). We additionally impose
                                                                                 the assumptions that ut and vt are uncorrelated with Dt,
                  Yt = α+β′Xt+δDt+γ′DtXt+εt(1)                                  which then implies our earlier orthogonality assumption
                                                                                 E[ εt Dt ] = 0. 6
where εt is a mean zero residual that is uncorrelated with
                                                                                       Under this formulation, observed price is
Xt, Dt, and DtXt, i.e., 0 = E[ εt ] = E[ εt Xt ] = E[ εt Dt ] = E[ εt Dt Xt ].
                                                                                 Yt = DtYt(1)+(1–Dt)Yt(0) and the price residual from Equa-
This relatively general specification takes into account the
                                                                                 tion (1) is εt = Dtut+(1–Dt)vt = vt+Dt(ut–vt). The formulation in
possibility that the alleged conspiracy will affect price
                                                                                 Equations (2) and (3) is useful for understanding some of
directly, as given by δDt (e.g., through an increase in price
                                                                                 the conceptual points we raise below.
at each point in time in the damage period). However, it
                                                                                       A damages award in litigation is typically based on
also takes into account the possibility that the effect of the
                                                                                 estimated aggregate overcharges, as measured here by
conspiracy will be felt through one or more of the covari-
                                                                                 the difference in revenues under conspiracy conditions
ates, as given by the term γ′DtXt. This allows the effect of Xt
                                                                                 and under non-conspiracy conditions. To simplify, we
on Yt to differ between the control period and the impact
                                                                                 assume that costs are unaffected by the conspiracy. To
period. This can be a desirable feature, for example, in an
                                                                                 define this estimand explicitly, denote quantity as Qt.
industry and time period where excess profits are being
                                                                                 Note that quantity will not be included as a covariate,
dissipated over time through market entry.
                                                                                 because of controversies over exogeneity – the set of
     We assume that the conspiracy does not cause
                                                                                 covariates is restricted to be those variables exogenous
changes to the covariates. When the covariates are caused
                                                                                 to the conspiracy. Although quantity is excluded from
by the conspiracy, neither the forecasting approach nor
                                                                                 the regression, it may nonetheless be correlated with
the basic dummy variable approach is appropriate if
                                                                                 some of the covariates and with price. Indeed, this may
applied using the model in Equation (1). These consid-
                                                                                 occur even if the conspiracy did not cause changes
erations importantly affect the choice of covariates. Note,
                                                                                 to quantity. Average overcharges are aggregate over-
however, that assuming the conspiracy does not cause the
                                                                                 charges relative to the number of time periods. Multiple
covariates to change does not rule out the possibility that
                                                                                 consistent estimators are available for average over-
the covariates are correlated with the conspiracy. Indeed,
                                                                                 charges, and we focus on the issues associated with the
we focus on the case where the covariates have different
                                                                                 estimation of the relevant parameter or parameters. The
levels during the pre-conspiracy period than during the
                                                                                 population parameter corresponding to average over-
conspiracy period.4
                                                                                 charges is
     We focus on what is to be done when the model in (1)
is appropriate and there are sufficient data to apply either                                     OC * = E[ DtQt { Yt (1) −Yt (0) } ]                     (4)
                                                                                                                                       
approach.5 For simplicity, we assume that the period in
which there are antitrust damages and the conspiracy
                                                                                 which can be thought of as the product of the true
period are identical. Allowing for the two to be differ-
                                                                                 average overcharge during the conspiracy period, or
ent would add some complexity to the specification, but
                                                                                 E[ ( Yt (1) −Yt (0) )Qt | Dt = 1], and the probability that a
would not change any of the fundamental points to be
                                                                                 sampled period is during the conspiracy, or E[ Dt ]. 7
made in the paper.
     The model in Equation (1) can be thought of as a
model of counterfactual outcomes, namely                                         6 Note that this assumption is justified if the decision to initiate and
                                                                                 cease a conspiracy is based largely on factors captured by the covari-
                                                                                 ates, Xt, or if it is based on idiosyncratic factors that are unrelated to
4 The case where the covariates have equal average levels between                the gains from conspiracy. It is not justified if the decision to initiate
the pre-conspiracy period and the conspiracy period is discussed in              or cease a conspiracy is based on unmeasured factors affecting but-
Higgins and Johnson (2003); see their assumption 4.                              for prices, i.e., vt, or on the gains to conspiracy, i.e., ut–vt.
5 There may be too few observations under conspiracy conditions                  7 In some applications, price will be modeled in logs, in which case the
to estimate the parameters α+δ and β+γ using the conspiracy period               object of interest may be redefined as E[ Dt Qt {lnYt (1) −lnYt (0) }Yt (0)]
alone.                                                                           or E[ Dt Qt {lnYt (1) −lnYt (0) }Yt (1)], for example.



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3 The Dummy Variable and                                                                                                        ˆ + ˆβ′Xt are the
                                                                                         ˆ + ( ˆβ′ + ˆγ′ ) Xt + ˆδ and Yˆt (0) = α
                                                                         where Yˆt (1) = α

   Forecasting Approaches                                                regression fitted values during the conspiracy and non-
                                                                         conspiracy periods, respectively.
                                                                             For some purposes, it may be desirable to impose
One standard approach to the evaluation of overcharges
                                                                         the restriction that γ = 0 (i.e., the effect of the covariates
estimates a regression model for the entire period for which
                                                                         on price is the same in the impact period and the control
data are available, and evaluates damages by looking at
                                                                         period). In this case, we would obtain a different estimate
the statistical significance and magnitude of the coeffi-
                                                                         of damages, given by
cient on a dummy variable that distinguishes the impact
period from the control period. When using this dummy                                    = 1 D Q { Y (1) −Y (0) }
                                                                                                   T


variable approach, a secondary issue arises. Should one
                                                                                        OC 2   ∑
                                                                                             T t =1 t t t     t                                 (6)
                                                                                                                             
evaluate damages by assuming a constant price differen-
tial through the impact period (as suggested by the coef-                where Yt (1) = α + δ + β ′Xt and Yt (0) = α + β ′Xt are the fitted
ficient on the dummy variable) or should one allow for                   values corresponding to the conspiracy and non-con-
non-constant price effects of the alleged conspiracy?                    spiracy periods, respectively, where all coefficients are
     When the time period or periods in which the alleged                estimated subject to the restriction that the interaction
antitrust behavior affected prices is sufficiently long                  between covariates and the conspiracy period dummy is
and the necessary data are available, a second standard                  properly excluded from the regression, i.e., that γ = 0. Our
                                                                                                                              
approach to the evaluation of overcharges is a two-step                  main focus is on OC 1 , but we discuss OC 2 in Section 6.
procedure. First, one estimates a regression model that                  Note that both of these estimators can be rewritten in terms
“explains” prices using only data for the control period                 of sample means and estimated regression coefficients,
                                                                                =π    ˆ 1ˆδ+ π             =π                    ˆ 1 = 1 ∑ t=1DtQt
                                                                                                                                             T
in which the market was unimpeded. Second, the regres-                   i.e., OC             ˆ ′X ˆγ and OC    ˆ 1 δ , where π
                                                                                   1                         2
                                                                                                                                         T
sion model is used to predict but-for prices in the impact                           1 T
                                                                         and π ˆ X = ∑ t=1DtQt Xt . 10
period.8 This approach is conventionally referred to as a                            T
forecasting (or “before-after”) approach.                                     Because the regression model in Equation (1) interacts
     To apply the dummy variable approach, we esti-                      the covariates with the dummy for conspiracy, the coeffi-
mate Equation (1) for the entire time period. The esti-                  cients α̂ and β̂ can be obtained equivalently by running
mation may or may not use quantity weights.9 When                        a regression of price on covariates during the non-conspir-
the estimation does use quantity weights, we assume                      acy period alone. The fitted values Yˆt (0) = α         ˆ + ˆβ′Xt are then
that the model is correctly specified in the sense that                  the in-sample predictions for periods t with Dt = 0 and the
the earlier orthogonality conditions are modified to be                  out-of-sample forecasts for periods t with Dt = 1. The fore-
0 = E[ εtQt ] = E[ εt XtQt ] = E[ εt DtQt ] = E[ εt Dt XtQt ].           casting approach to estimating average overcharges takes
     Continuing to assume that the impact of the covariates              the quantity-weighted difference between actual and fore-
on price is unaffected by the conspiracy, δ measures the                 casted prices, or
temporally constant effect of the conspiracy on price per
                                                                                            = 1 D Q { Y −Yˆ (0) }
                                                                                                    T
unit of time. More generally, the impact of the covariates                                 FC   ∑
                                                                                              T t =1 t t t t
                                                                                                                                                (7)
on price may be correlated with the conspiracy, although                                                                 
not directly caused by it. Estimates of average overcharges
                                                                              As with the dummy variable approach, the fore-
are a quantity-weighted average of the difference in prices
                                                                         casting approach estimate can be rewritten in terms of
with and without the conspiracy, or
                                                                         sample means and the estimated regression coefficients,
                                                                                                                 1 T
               = 1 D Q { Yˆ (1) −Yˆ (0) }                                                                  ˆ Y = ∑ t=1DtQtYt . In the
                        T
                                                                               = π          ˆ ′X ˆβ, where π
              OC 1   ∑
                   T t =1 t t t     t                             (5)    i.e., FC  ˆY −π
                                                                                       ˆ 1α
                                                                                          ˆ −π                   T
                                                                        next section, we discuss the issues involved in choosing
                                                                         between the two approaches.
8 There must be sufficiently variability to allow one to appropriately
account for non-collusive variables that might have affected price in
the impact period.                                                       10 As noted by Wooldridge (2002, section 18.3.1), covariates can
9 A variety of considerations are involved in the decision of whether    be de-meaned prior to estimation without changing the estimated
to use quantity weights, including data quality, heteroskedastic-        regression coefficients except for the constant and with essentially
ity, efficiency, strong trends in quantity (particularly for narrowly    negligible effects on the standard errors. This means that we can en-
defined products), and robustness, among others. We focus on the         sure that πˆ X is by construction zero, which is computationally con-
case where weights are not used, but note the implications of using      venient. In that case, the coefficient on the dummy variable needs
weights where relevant.                                                                                                  .
                                                                         only to be scaled up by π̂ 1 in order to obtain OC 1




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4 When Do These Two Approaches                                              condition for the weighted regression. Proposition 1 means
                                                                             that, despite often being a major point of disagreement
   Differ?                                                                   between opposing expert witnesses, there is no distinc-
                                                                             tion between the dummy variable and forecasting method
Equation (1) was introduced as a description of the true
                                                                             when the two methods use the same covariates and quan-
relationship between the outcome, the conspiracy period,
                                                                             tity weights. Proposition 1 does not, however, indicate the
and the covariates. A related interpretation of Equation (1)
                                                                             relationship between the approaches when the regression
is as an in-sample decomposition of prices into predicted
                                                                             models are not weighted by quantity, as they often will not
and unexplained components. Specifically, we have
                                                                             be, and it does not indicate whether either approach meas-
                 ˆ + ˆβ′Xt + ˆδDt + ˆγ′Dt Xt +ˆεt
            Yt = α                                                     (8)   ures the parameter of interest. These considerations are
                                                    
                                                                             covered by the next proposition, which gives a variety of
                                                                             sufficient conditions for the dummy variable and forecast-
where ˆεt is a fitted price residual which in the sample has
                                                                             ing approaches to be consistent for average overcharges.
zero correlation with the covariates by construction. We
                                                                             Three of these sufficient conditions are more detailed than
can use this decomposition to connect the forecasting and
                                                                             the others, and we discuss them briefly before stating the
the dummy variable approaches.
                                                                             proposition. These three assumptions, which pertain
     Lemma: When quantity varies over the conspiracy
                                                                             to the covariance during the conspiracy period between
period and the regression is unweighted, the forecasting
                                                                             quantity and unmeasured factors influencing actual or
and dummy variable approaches will differ, depending on
                                                                             but-for prices, are given by:
whether or not quantity is correlated in the sample with
the fitted residual during the conspiracy period. Formally,                  Assumption 1: C[ ut , Qt | Dt = 1] = C[ vt , Qt | Dt = 1] = 0.

                          + 1 D Q ˆε
                      = OC
                                      T
                                                                             Assumption 2: C[ ut , Qt | Dt = 1] = C[ vt , Qt | Dt = 1].
                     FC     1   ∑
                              T t =1 t t t
                                                                             Assumption 1′: C[ vt , Qt | Dt = 1] = 0.

    The Lemma establishes that the difference between                             Since ut corresponds to Yt(1) and vt corresponds to
the forecasting and dummy variable approaches hinges                         Yt(0), Assumption 1 asserts zero covariance between quan-
on whether the quantity of sales would affect price in the                   tity and unmeasured factors affecting but-for and actual
regression model. Classical demand theory would suggest                      prices during the conspiracy. Assumption 2 asserts that
that when price is unexpectedly high (i.e., when εt is high)                 the covariance during the conspiracy between quantity
that quantity is likely to be low. Hence, one presump-                       and unmeasured factors affecting but-for price is equal
tion is that the forecasting estimate of overcharges will                    to the covariance during the conspiracy between quan-
be negatively biased relative to the dummy variable esti-                    tity and unmeasured factors affecting actual price. That
mate of overcharges. However, note that Equation (1) is not                  is, the covariance does not have to be zero, but it must
typically interpreted as an inverse demand equation, but                     be the same for actual and but-for prices.11 Assumption 1′
rather a reduced form model for price. Consequently, there                   implies that there is zero covariance between quantity and
may be no economic basis for the assumption that quantity                    the unmeasured factors affecting but-for prices during the
and unexplained price deviations are negatively related.                     conspiracy. This is a weaker version of Assumption 1, in
                                                                             the mathematical sense of being implied by it. Assump-
Proposition 1: The forecasting and dummy variable                            tion 2 is not implied by Assumption 1′, but is implied by
approaches yield numerically identical overcharge esti-                      Assumption 1. After stating our main proposition regard-
mates if either (a) quantity is constant over the conspiracy                 ing consistency, we discuss whether there is a sense in
period, or (b) the regression in Equation (1) is quantity                    which Assumption 1′ is stronger than Assumption 2.
weighted.                                                                         We now state our main proposition regarding
    Proposition 1 follows directly from the Lemma. If                        consistency.
quantity is constant, then the difference between the two
                                 1 T
approaches is proportional to ∑ t=1Dtˆεt , which is zero by
                                 T                                           11 As noted by the editor, Assumption 2 is also implied the somewhat
the sample orthogonality conditions of regression. If the                    stronger restriction that C[ Yt (1) −Yt (0), Qt | Xt , Dt = 1] = 0. In words,
                                              1 T                            this restriction is that the covariance between quantity and price is
regression is quantity weighted, then          ∑ D Q ˆε is
                                             T t =1 t t t                    the same during the damages period as long as the covariates are the
zero since that is then precisely the sample orthonality                     same, regardless of whether it is with or without the conspiracy.




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Proposition 2: If (Yt, Xt, Dt, Qt)′ is a vector ergodic station-              fact that neither assumption implies the other, strictly
ary process with existence of sufficient moments, then                        speaking. Note that there is a natural restriction which
both the forecasting and dummy variable approaches                            implies that unmeasured factors affecting price would be
are consistent for OC* if either (a) quantity is constant                     the same under conspiracy and non-conspiracy condi-
over the conspiracy period or (b) the regression in Equa-                     tions: vt = ut = εt. In words, this would imply that treatment
tion (1) is quantity weighted. In addition, the forecasting                   effects would depend on covariates at best, but not residu-
approach is consistent if Assumption 1 or Assumption 1′                       als. In this case, Assumption 2 is satisfied automatically,
is met, and the dummy variable approach is consistent if                      but Assumption 1′ may not be. Proposition 2 suggests,
Assumption 1 or Assumption 2 is met.                                          therefore, that the dummy variable approach is likely to
     The proof of Proposition 2 is given in the appendix.12                   be more robust than the forecasting approach.
The primary conclusion of the Proposition is that both
the forecasting and the dummy variable approaches can
be consistent for average overcharges, but under slightly
different conditions in general.13 Whether Assumption 2 or
                                                                              5 Should One Forecast?
Assumption 1′ is more plausible is a matter of judgment,
                                                                              In this section, we discuss the potential advantages and
as neither implies the other. Assumption 1 asserts that
                                                                              disadvantages of the forecasting approach.
quantity is uncorrelated with unmeasured factors affect-
                                                                                   Advocates of the forecasting approach sometimes use
ing both actual and but-for prices during the conspiracy.
                                                                              sophisticated model selection procedures to choose the
This is plainly a strong assumption, in the sense that it
                                                                              regression model. One motivation for this approach is that
implies both Assumptions 2 and 1′.
                                                                              the model selection process is based purely on data prior to
     Assumption 2 is notably weaker. This assumption
                                                                              the conspiracy period and will therefore not be corrupted
allows for quantity to be correlated with unmeasured
                                                                              by any effects that the conspiracy might have had on the
factors affecting actual and but-for price during the con-
                                                                              covariates in the conspiracy period. There is an important
spiracy; it is justified if adjustments to quantity are due to
                                                                              benefit associated with this approach, but there is a further
observable factors controlled for in the regression and idio-
                                                                              drawback. The benefit is that an appropriate model search-
syncratic variation. Stated differently, Assumption 2 is jus-
                                                                              ing methodology minimizes the scope for “overfitting” and
tified if adjustments to quantity ignore the unobservable
                                                                              “cherrypicking”.14 If data during the conspiracy period are
price improvements available from conspiracy, i.e., ut–vt.
                                                                              used to choose the regression model, then there is a risk
     Turning to Assumption 1′, we find it hard to justify
                                                                              that the model will produce a biased damages estimate,
the assumption that there is zero covariance during the
                                                                              which is inappropriate. For example, it is always possible
conspiracy period between quantity and the unmeasured
                                                                              to use an in-sample model selection procedure to produce
factors affecting the but-for price, without also being
                                                                              a damages estimate of zero, just by adding a sufficient
willing to assume that there is zero covariance between
                                                                              number of irrelevant covariates so that the model fully
quantity and actual price. That is, it seems to us to be hard
                                                                              explains prices in the conspiracy period (“overfitting”).
to justify Assumption 1′ without appealing to Assumption 1.
                                                                                   Choosing the model that is most beneficial to a par-
Consequently, in our judgment, there is a sense in which
                                                                              ticular position (“cherrypicking”) can also be a problem.
Assumption 1′ is stronger than Assumption 2, despite the
                                                                              If an expert knows the damages estimate that is beneficial
                                                                              to the client, there is a risk that in-sample model selection
12 Informally, an ergodic stationary process is a process that will not
                                                                              could be tantamount to choosing the model that generates
change its properties over time and whose properties can be deduced
from a sufficiently long sample of the process.
                                                                              a damages estimate that is most preferred. A forecasting
13 While it is not our focus in this paper, we note that if one found         approach that is based on an appropriate model selection
Assumption 1 to be justified, then there are two consistent estimators        methodology serves as a good disciplining device.
for average overcharges, in which case a more efficient estimator can              The drawback of using data prior to the conspiracy
be obtained by combining the two estimators. For example, the lin-            period to select the model is that it may be too disciplining.
                              
ear combination ( ω1 OC 1 + ω2 FC ) /( ω1 + ω2 ) is also consistent for the
                                                                              In particular, the use of only pre-conspiracy data prevents
average overcharge and has asymptotic variance of 1/(ω1+ω2) where
ω1 ≡ 1/( VOC − c ) with VOC the asymptotic variance of the dummy              the expert from selecting a model using all of his or her
                                                                              knowledge of the economics of the problem. Particularly
            1              1
variable estimate and c the asymptotic covariance between it and the
forecasting estimate, and ω2≡1/(VFC–c) with VFC the asymptotic vari-
ance of the forecasting estimate. On the other hand, obtaining good
estimates of VFC and VOC is challenging and this may limit the practi-        14 This is a benefit emphasized by White, Marshall, and Kennedy
                         1
cality of this approach.                                                      (2006).



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in dynamic markets, the relationship between covariates                                  constant, Dt, and Xt, where Xt has K elements, we can write
and prices may be so rapidly evolving that the pre-conspir-                               =π
                                                                                         OC     ˆ 1ˆδ+ π
                                                                                                       ˆ 1ˆη′ˆγ. Consequently, these two approaches
                                                                                             2
                                                                                                                                               
acy period will not be an especially good guide to model                                 differ in the implicit adjustment to ˆ;            γ OC            ˆ
                                                                                                                                                  1 uses π X and
selection for the conspiracy period. In such a setting, prior                                         ˆ
                                                                                         OC 2 uses π 1 η   ˆ.
knowledge may be of great value, and the expert may                                            Comparing equations (9) and (10), one can see that
want to use such knowledge. Suppose, for example, that                                   it is not possible to determine a priori whether imposing
the market at issue is a highly innovative one in which                                  the restriction that γ = 0 will improve efficiency. To see why,
new technologies are developed on average every 2 years,                                 consider the three terms in Equation (9). The first term is
and also that the rate of innovation is growing over time.                               proportional to V [ ˆδ| π    ˆ 1, π
                                                                                                                           ˆ X ]. However, this can be either
Suppose also that the conspiracy period is 4 years long.                                 larger or smaller than V [ δ | π     ˆ 1, π
                                                                                                                                    ˆ X ]. 15 The second term in
Then, the forecasting approach is likely to underestimate                                Equation (9), summarizing the variability in the estimate
the extent to which innovation would likely have occurred                                of the change in the effect of the covariates on price, is
in the but-for world during the conspiracy period.                                       strictly positive and typically will be large. The reason is
     Weighing these considerations, some would conclude                                  that a precise estimate of the change in the effect of the
that the model selection procedure associated with fore-                                 covariates on price requires sufficient variation in the
casting is on balance desirable, especially when damages                                 covariates both before and during the alleged conspiracy.
do not involve dynamic markets. A point which is perhaps                                 Often, covariates that are suspected to have a substantial
underappreciated, however, is that one could of course                                   effect on prices are notably different during the alleged
choose the model based only on data prior to conspiracy                                  conspiracy period, and there is insufficient variation in the
conditions, as with forecasting, and then having chosen                                  key covariates prior to the alleged conspiracy to obtain a
a model, estimate the parameters of the model using the                                  good estimate. The final term in Equation (9), pertaining to
dummy variable approach.                                                                 the covariance between the change in the level of price and
                                                                                         the change in the effect of covariates, can consist of terms
                                                                                         which are all positive, all negative, or a mixture of signs.
                                                                                               With this background, we can now motivate the
6 Saving Degrees of Freedom in the                                                      conclusion that the variance associated with the first

   Dummy Variable Model                                                                  approach to overcharges can either be larger or smaller
                                                                                         than the variance associated with the second approach.
                                                                                         Even if V [ ˆδ| π       ˆ X ] is larger than V [ δ | π
                                                                                                            ˆ 1, π                                ˆ 1, π
                                                                                                                                                       ˆ X ] (as for
An important consideration in the dummy variable model
                                                                                         example when γ = 0), the third and final term in Equation
is whether overcharges can be estimated with greater
                                                                                         (9) can be negative and large in magnitude.16 This leads
precision by imposing the restriction γ = 0. Imposing this
                                                                                         to indeterminacy in the relative magnitudes of the condi-
restriction could in principle either increase or decrease
                                                                                         tional variances of the two approaches, and this indeter-
the variability of the overcharges estimate, as we now
                                                                                         minacy carries over to the case of unconditional variances.
explain.
                                                                                               On the other hand, it is often possible to estimate
     Conditional on π̂ 1 and πˆ X , the variances of the the
                                                                                         the model using both the first and second dummary vari-
two dummy variable approaches are
                                                                                         able approaches. Assuming the economist is willing to
          |π
     V [ OC   ˆ 1, π
                   ˆ X ] =π  ˆ 12 V [ ˆδ| π
                                          ˆ 1, π
                                               ˆ X ]+π
                                                     ˆ ′X V [ ˆγ | π
                                                                   ˆ 1, π
                                                                        ˆX]              impose the additional assumptions needed for inference
            1
                            ˆ                                                      (9)   (e.g., existence and finiteness of fourth moments or the
         ˆ +2π
         π     ˆ ′ C [ ˆγ , δ| πˆ ,π  ˆ ]π  ˆ
           X       X             1     X    1                                 
          |π
     V [ OC   ˆ 1, π      ˆ 12 V [ δ | π
                   ˆ X ] =π             ˆ 1, π
                                             ˆX]
            2                                                                     (10)   15 Higgins and Johnson (2003) consider some restrictions that guar-
                                                   
                                                                                         antee V [ δ | π    ˆ X ]< V [ ˆδ| π
                                                                                                        ˆ 1, π              ˆ 1, π
                                                                                                                                 ˆ X ], chief among these being γ = 0. This
                                                                                         is an old result; see for example Kmenta (2000, section 11–2).
Recall that δ̂ is the dummy variable coefficient from the                                16 To the best of our knowledge, there is no parametric restriction
regression including interactions between the dummy                                      that guarantees an improvement in precision of estimated average
variable and the covariates, that γ̂ is the vector of coef-                              overcharges from imposing the restriction γ = 0. For example, even in
ficients on those interactions, and that δ is the dummy                                 data generating processes where γ = 0, it can still be more efficient to
                                                                                         allow for a change in the effect of the covariates on price. Because of
variable coefficient from the regression that excludes the
                                                                                         this, we are not aware of any statistical test that would clearly point
interactions. Using the fact that δ̂ and δ are connected                                to whether it was more appropriate to include or exclude the interac-
as δ = ˆδ+ ˆγ′ˆ,
               η where the kth element of η̂ is the coeffi-                              tion term from the regression, from the point of view of minimizing
cient on Dt in a regression of the kth element of DtXt on a                              the variability of the overcharge estimate.



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variance structure of the error term), it may be possible to                       Yt = 10+2Xt+4Dt+γDtXt+εt(12)
get a sense in the sample of which estimator is more vari-
                                                                   where εt = Dtut+(1–Dt)vt. In a typical simulated sample from
able. However, probably the strongest reasons to consider
                                                                   this data generating process, a regression of Yt on Xt, Dt,
both the first and second dummy variable approaches are
                                                                   and DtXt yields an R2 of about one-third, which is typical
prior information, specific data settings, and robustness.
                                                                   of this context.
The economist might be have a strong prior view that one or
                                                                        As emphasized by Proposition 2, the relationship
more covariates have the same partial effect on price before
                                                                   between quantity of sales and unmeasured factors affect-
and during the conspiracy (i.e., an element of γ is zero)
                                                                   ing actual and but-for prices during the conspiracy period
and suspect that imposing the restriction will improve effi-
                                                                   relates in highly specific ways to the consistency of the fore-
ciency; the economist may not have enough observations to
                                                                   casting and dummy variable approaches. Consequently,
estimate the effect of variables believed to be important in
                                                                   we consider several different specifications for quantity.
both the before and during periods; or the economist might
                                                                   Our baseline specification holds quantity constant at 150,
have enough data to do so, but be worried about the robust-
                                                                   where quantity is measured in thousands of units sold. We
ness of a model that is deemed close to overfitting.
                                                                   also consider more complicated specifications based on an
                                                                   AR(1) model with an error term that depends on unmeas-

7 An Example                                                       ured factors affecting actual and but-for prices:

                                                                                  Qt = 75+0.5Qt–1+vuut+vvvt+et(13)
In this section, we present the results of a simulation
study intended to demonstrate the practical relevance of           with Qt initialized to Q0 = 0. We let et be distributed iid stand-
the issues discussed above. We set T = 100, with the alleged       ard normal, and εt, et, and et be mutually independent.
conspiracy period beginning roughly two-thirds of the                   The coefficients vu and vv in Equation (13) control
way through the sample, i.e., Dt = 1(t > t*), where for each       whether Assumptions 1, 2, or 1′ are met, or whether none
sample t* is a single draw from the binomial distribution          of them are met. The coefficient γ controls whether inter-
with parameters T and 2/3. This implies that E[ Dt ] = 2 / 3.      action terms are needed in the regression model. Table 1
The covariate Xt is generated according to                         shows the models for Qt that we consider, the configura-
                                                                   tions of the vu, vv, and γ parameters, and the implications
               Xt = 1–0.015t+0.25Xt–1+et(11)
                                                                   of these choices for the validity of Assumptions 1, 2, and 1′
where we initialize Xt as X0 = 0 and et is distributed indepen-    and for estimator consistency.
dently and identically (iid) standard normal. This specifi-             Model 1 generates price Yt according to Equation (12),
cation allows for trend and persistence in the covariate.          with γ = 0. This corresponds to a setting in which the effect
The AR(1) with trend model can exhibit notable (spurious)          of the covariate on price is the same before and during
correlations with the dummy for the conspiracy period.             the alleged conspiracy. Quantity is constant at 150,000
That is, the conspiracy does not cause changes to Xt but           units. Model 2 is identical to the first, but sets γ = 1. This
may be associated with it. This mimics real world settings         implies an increase in the partial correlation between
in which these methods are used. It will often appear              the covariate and price during the conspiracy period, as
that one or several covariates move differently before the         compared to before. Models 3 through 6 allow quantity
alleged conspiracy period than during, but these apparent          to vary according to Equation (13), but the parameters vu
differences will potentially be consistent with a complex          and vv vary from being equal and zero (Model 3), to being
time series process underlying one or more covariates and          equal and non-zero (Model 4), to being different from one
with spurious correlation between the covariates and the           another (Models 5 and 6). In each of the six models, the
outcome variable during the alleged conspiracy period.             covariate Xt is simulated according to Equation (11).
     We simulate prices according to Equations (2) and (3),             Note that Models 2 through 6 involve changes to the
with ut and vt independent heteroskedastic error terms             data generating process for Qt, but not for Yt. Thinking of the
generated as ut = Zt ut and vt = Zt vt , where ut and vt are   structure of the two approaches, we recognize that changes
distributed iid bivariate normal with means of 0, vari-            to the data generating process for Qt affect the forecasting
ances 10, and correlation of zero, and Zt is distributed iid       approach in a somewhat more direct way than they do the
standard normal and independent of ut , vt , and et. We          dummy variable approach. That is, the dummy variable
also (arbitrarily) choose the following model parameters:          estimate is a function of α ˆ , ˆβ, ˆδ, ˆγ, π         ˆ X . As empha-
                                                                                                               ˆ 1 , and π
α = 10, β = 2 (there is one covariate), δ = 4, and γ is equal to   sized by the Lemma, however, the forecasting approach is
                                                                                                       T
either 0 or 1. In summary, the model for price is given by:        additionally affected by T −1 ∑ t=1DtQtˆεt , and this means that


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Table 1 Overview of Simulation Experiments.

Model              Model for Qt              νu              νv              Valid assumptions               γ             Consistent estimators
                                                                                                                           , OC
                                                                                                                           FC  , OC
                                                                                                                                   
     1             Constant                   –              –               1 and 2                         0                   1   2

                                                                                                                           , OC
                                                                                                                           FC 
     2             Constant                   –              –               1 and 2                         1                     1

                                                                                                                            , OC
                                                                                                                            FC 
     3             AR(1)                      0              0               1 and 2                         1                    1

                                                                                                                           
                                                                                                                           OC
     4             AR(1)                      3              3               2                               1                1

     5             AR(1)                      3              0               1′                              1             
                                                                                                                           FC
     6             AR(1)                      0              3               None of the above               1             None of the above

Note: The table describes the simulation experiments we conduct. Parameters νu and νv correspond to the model for Qt, and the parameter γ
corresponds to the model for Yt.


Table 2 Simulation Estimates of Mean and Standard Deviation of Estimators for Average Overcharge.

                                                                   
                                                                    OC                                              
Model                        OC 1                                      2                                            FC                         OC*

     1                     199.89                                 199.94                                         199.89                    200.00
                           (47.88)                                (46.58)                                        (47.88)
     2                     183.36                                 198.97                                         183.36                    183.49
                           (49.27)                                (50.44)                                        (49.27)
     3                     183.47                                 198.96                                         183.47                    183.49
                           (49.53)                                (50.67)                                        (49.54)
     4                     184.37                                 199.54                                         193.45                    183.49
                           (51.95)                                (53.24)                                        (53.06)
     5                     184.39                                 199.55                                         193.46                    193.51
                           (51.83)                                (53.11)                                        (52.84)
     6                     183.45                                 198.95                                         183.46                    173.50
                           (49.66)                                (50.80)                                        (49.76)

Note: The table presents simulation estimates of mean and standard deviation (parentheses) of sampling distribution for three estimators
of average overcharges. All figures are in thousands of dollars.



the probability limit of the forecasting approach depends on                overcharges are 100,000 times as large as the quantities
the data generating process for Qt in a more direct way than                in Table 2, or roughly $20 million in each scenario. This is
does that of the dummy variable approach.                                   a typical damages award for a small to moderate case of
     The results of these simulation experiments are given                  this nature; in recent years, it has become common to see
in Table 2, which presents estimates of the mean and                        damages estimates of $1 billion or more.18
standard deviation of the estimators for average over-                           While the table contains the figures for the standard
charge discussed, using 240,000 replications of data sets                   deviation of these estimators, we focus on the simulation
of size T = 100. For reference, we also display the estimand,               estimates of bias. This is because in all six models, and many
OC*, for each simulation experiment.17 As quantity is meas-                 others we have examined, differences in standard deviation
ured in thousands of units, the dollar figures in the table                 among the methods are generally minor, as compared with
are in thousands of dollars. Since T = 100 here, aggregate
                                                                            18 Freed (2012) notes that “[e]stimates of the potential cost of a set-
17 For Models 1 through 4 we have E[( ut -vt )Dt Qt ] = 0 and the esti-     tlement of the [Visa] antitrust case vary dramatically – from a few
mand reduces to π1δ+π′Xγ, but for Models 5 and 6 the estimand is            billion dollars into the hundreds of billions.” Visa eventually settled
more complicated to calculate. In all instances, we approximate the         for $4 billion (Touryalai 2012). Other settlement amounts are cited in
estimand by taking 7.2 million samples of size 100 and averaging the        Marshall (2008), Schoenberger (2009), and Clark (2011). The only re-
                   1   100                                                  view ever conducted along these lines looked at 40 cases (Lande and
sample means         ∑ D Q { Y ( 1 ) -Yt ( 0)}. The margin of error for
                 100 t=1 t t t                                              Davis 2008). The average recovery for plaintiffs among those 40 was
the simulation estimate of the estimand is ± 0.03 for Models 1, 5, and      $450 million under one set of assumptions and $491 million under
6, and ± 0.02 for Models 2, 3, and 4, where we take advantage of the        another set of assumptions, but the cases studied were those known
fact that the estimand is the same and average the three resulting          to prominent antitrust attorneys and hence more likely to be ones
simulation estimates.                                                       involving large dollar amounts.



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differences in bias. The simulation estimates of the stand-                    Model 3 allows quantity to vary according to Equa-
ard deviation of each estimator are nonetheless of interest               tion (13) and retains the assumption that the effect of the
for computing the margin of error of the estimated means of               covariate on prices differs before and during the alleged
the sampling distributions. These are given by ±1.96 σ  ˆ / R,            conspiracy period. However, this model does not allow any
where σ̂ is the estimated standard deviation of the sam-                  predictable relationship between quantity and price, either
pling distribution and R is the number of replications, here              under conspiracy conditions or under non-conspiracy
240,000.19 For each of the three estimators and for each                  conditions. That is, this model conforms to Assumption 1,
model, the margin of error for the mean is roughly ±0.2.                  which implies Assumption 2 holds as well. Proposition 2
     Model 1 corresponds to a setting of constant quantity                implies that both the first dummy variable approach and
and no interaction term in the population between covari-                 the forecasting approach should be consistent for average
ates and the dummy variable. For this model, Proposition 1                overcharges in this setting. The simulation experiments
                                                          
asserts that the first dummy variable approach ( OC 1 )                   corroborate this. While it is no longer true that the first
and the forecasting approach ( FC    ) are numerically iden-             dummy variable approach and the forecasting approach
tical. This is borne out in the simulations. In each of the               are numerically identical, their sampling distributions
240,000 replications, the first dummy variable approach                   are nearly identical. In particular, the mean of the two
and the forecasting approach are identical. The simulation                sampling distributions differs in the third decimal place
estimated means, presented in the first row of the table,                 and the standard deviation differs in the second decimal
are thus also identical. Because the effect of covariates on              place. Since both distributions are essentially normal, and
price is constant in Model 1, the discussion in Section 6                 since the first two moments are essentially identical, it is
indicates that there should be no important difference                    hard to prefer one estimator over the other in this context
between the two varieties of the dummy variable approach:                 on statistical grounds. However, because the effect of the
the first approach allows the effect of covariates on price               covariates changes over time, the second dummy vari-
to change during the alleged conspiracy, and the second                   able approach is not consistent, with a bias that is again
approach ( OC   ) correctly imposes the assumption that                  roughly 8% of the true parameter.
                  2
the effect of covariates on price is the same over time (i.e.,                 Model 4 is the same as Model 3, except for a change
that γ = 0). Consistent with our expectation, the two dummy               to the parameters in Equation (13), which governs quan-
variable approaches perform quite similarly in terms of                   tity. In particular, this model now allows for quantity to
bias. It is interesting to note that the second dummy vari-               be related to unmeasured factors affecting price, which
able approach is not particularly precise relative to the                 violates Assumption 1. However, by restricting the corre-
first. This will not be true in every setting, as imposing true           lation to be equal under conspiracy and non-conspiracy
restrictions can often improve efficiency. Overall, for all               conditions, Assumption 2 is met. As noted, an easy way
three estimators, the simulation estimates of the means are               to understand this setting is that quantity may be related
extremely close to the target parameter of $200,000.                      to but-for prices, but not to the gains from conspiracy. As
     Model 2 modifies the data generating process to allow                indicated by the schematic in Table 1, the only consist-
the effect of covariates on price to change during the alleged            ent estimator in this setting is the first dummy variable
conspiracy period. In this setting, since quantity is constant            approach. The simulation experiments bear this predic-
as in the first model, the first dummy variable approach and              tion out, with both the second dummy variable approach
the forecasting approach are identical. However, because                  and the forecasting approach being badly biased, by
the effect of the covariates changes during the alleged                   roughly 8 and 5% of the true parameter, respectively. In
conspiracy period, the second dummy variable approach                     contrast, the first dummy variable approach has a sam-
(which imposes the constraint that γ=0) is inferior to the                pling distribution mean that is less than one-half of 1%
first approach. Table 2 shows that the second dummy vari-                 above the true parameter.20
able approach has a bias of approximately $15,000, or just
over 8% of the true parameter of $183,000.                                20 While the effect is small, we were somewhat surprised that the
                                                                          first dummy variable approach was not as close to the target in this
19 This margin of error may be justified either by appealing to the       model as it was in Models 1, 2, and 3. We note that the conclusion of
central limit theorem applied to the estimators, or to normality of the   Proposition 2 is not that the estimator is unbiased, but rather that it
sampling distribution of each estimator. A detailed examination of        is consistent. On the other hand, we conducted a similar experiment
the sampling distribution confirms that for these simulation experi-      with a slightly larger sample size of T = 200 and encountered similar
ments, the sampling distribution is approximately normal. For exam-       results – a simulation estimate of the mean that is roughly one-half of
ple, each estimator in each model exhibits skewness of roughly 0.2        1% above the true parameter, where the true parameter is not inside
and kurtosis of roughly 3.2.                                              the confidence region for the simulation estimate.



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    Model 5 highlights the performance of these esti-             over time, is numerically equivalent to the forecast-
mators when Assumption 1′ is met but Assumption 2 is              ing approach when quantity is constant or when the
violated. In this new context, the estimand is no longer          regressions themselves are quantity-weighted. When
$183,000, but is instead $194,000. The simulation experi-         quantity varies over time, but not in a manner related
ments confirm the prediction of Proposition 2; now only           to unobserved determinants of price, then both the
the forecasting approach performs well in terms of prox-          forecasting and the first dummy variable approaches
imity to the true parameter. The first and second dummy           generate consistent estimates of overcharges. However,
variable approaches have biases of approximately –5 and           when quantity is related to unobserved determinants
3%, respectively. On the other hand, as discussed, we             of price, one sufficient condition leads to consistency
find it difficult to imagine a real-world justification for       of the forecasting approach and another sufficient
Assumption 1′ that would not also imply the validity of           condition leads to consistency of the first dummy vari-
Assumption 1, and so this model may be viewed as some-            able approach. Neither of these sufficient conditions is
what artificial.                                                  implied by the other. However, we have argued that the
    Finally, Model 6 emphasizes that there is no guar-            sufficient condition for consistency of the forecasting
antee that one of these these approaches will estimate            approach in this case is somewhat artificial, suggesting
average overcharges successfully. Now, the parameters             slightly greater robustness of the first dummy variable
of Equation (13) are such that neither Assumption 1, nor          approach.
Assumption 2, nor Assumption 1′ is met. In this context,               We also show that there is some justification for the
the true parameter is $174,000 and the first and second           second dummy variable approach. When the effects of
dummy variable approaches have approximate biases of              covariates on price are indeed constant over time, then
6 and 15%, respectively, and the forecasting approach has         the second dummy variable approach can have less vari-
an approximate bias of 6%.                                        ability than the first dummy variable approach. However,
                                                                  this is not guaranteed. Moreover, in simulation results, we
                                                                  do not find important differences in the variability of the
8 Conclusion                                                      two dummy variable approaches. On the other hand, if the
                                                                  restriction that the effects of covariates are constant is, in
In this paper, we have reviewed two major approaches              fact, false, then the second dummy variable approach can
to the estimation of overcharges: the dummy variable              be biased.
approach and the forecasting approach. The dummy                       Overall, our discussion points to a particularly impor-
variable approach is based on a regression model that             tant role for the first dummy variable approach, particu-
explains price before and during the alleged conspiracy           larly when there are sufficient data to estimate the model
period. There are two leading variants of the dummy               reliably. The primary drawback of the first dummy vari-
variable approach, corresponding to whether the effects           able approach is the possibility that analysts will “overfit”
of covariates are allowed to differ before and during the         the regression model, including a great number of covari-
alleged conspiracy period, or are instead imposed to be the       ates that do not belong in the regression model. This can
same throughout. We consider both of these variants. The          lead to imprecise overcharges estimates, and perhaps
forecasting approach formulates a model for price before          even spurious overcharges estimates if inappropriate
the alleged conspiracy period and then compares price             covariates are included. To ameliorate these problems, we
forecasts with actual prices. For both the dummy vari-            suggest that further consideration be given to the use of
able approach and the forecasting approach, a quantity-           a model selection procedure (such as that currently used
weighted difference between prices under conspiracy and           in the forecasting approach) in conjunction with the first
non-conspiracy conditions is used to estimate overcharges.        dummy variable approach.
    We show that the first dummy variable approach,
in which the effects of covariates are allowed to differ          Previously published online October 26, 2013




Appendix
Before proving the lemma and propositions, we replicate           the maintained assumptions underlying them. Recall the
the key equations from the text and give a synopsis of            definitions



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                                                                                     1 T            1 T
           OC * = E[ { Yt (1) −Yt (0) } DtQt ]
                                                   
                                                                            (A.1)      ∑ D Q ˆε =Q T ∑ t=1Dtˆεt =0 by the orthogonality of
                                                                                    T t =1 t t t
                                                                                    fitted residuals and covariates. The same holds for a
          Yt(1) = α+δ+(β+γ)′Xt+ut                                          (A.2)
                                                                                    weighted regression, but the orthogonality condition is
          Yt(0) = α+β′Xt+vt                                                (A.3)                      1 T
                                                                                    then precisely that ∑ t=1DtQtˆεt = 0.               □
                                                                                                       T
                    ˆ + ˆδ+ ( ˆβ + ˆγ ) ′ Xt
          Yˆt (1) = α                                                       (A.4)
                                               
                                                                                    Proof of Proposition 2: The assumption that (Yt, Xt,
                   ˆ + ˆβ′Xt
         Yˆt (0) = α                                                        (A.5)
                                                                                   Dt, Qt) is a vector ergodic stationary process with exist-
                                                                                    ence of sufficient moments implies that moments such
             = 1 { Y −Yˆ (0) } D Q = π
                       T
            FC   ∑                    ˆY −π
                                          ˆ 1α  ˆ ′X ˆβ
                                             ˆ −π                           (A.6)   as E[ DtQtYt ] exist, are finite, and are time invariant;
               T t =1 t t        t t
                                                                                   and also that the corresponding sample mean converges
                                                                                    in probability to that expectation. Together with Equa-
            = 1 { Yˆ (1) −Yˆ (0) } D Q = π
                        T
           OC 1   ∑                       ˆ 1ˆδ+ π
                                                 ˆ ′X ˆγ                    (A.7)   tions (A.9) and (A.10), this implies that the regression
                T t=1 t      t       t t
                                                                                   coefficients αˆ , ˆβ, ˆδ, and γ̂ are consistent for α, β, δ,
                                                                                    and γ, respectively, and that the averages π   ˆ 1, π
                                                                                                                                        ˆ X , and
and the decomposition into fitted values and fitted
                                                                                    ˆ Y are consistent for π 1 ≡E[ DtQt ], π X ≡E[ DtQt Xt ], and
                                                                                    π
residuals:
                                                                                    πY ≡E[ DtQtYt ], respectively.
                    ˆ + ˆβ′Xt + ˆδDt + ˆγ′Dt Xt +ˆεt
               Yt = α                                                       (A.8)       To discuss consistency, it is helpful to characterize
                                                       
                                                                                    the estimand under our assumptions. We utilize two such
                                                                                    characterizations, one for the forecasting approach and
   In a context where the regression models are
                                                                                    the other for the dummy variable approach. That for the
unweighted, we assume
                                                                                    forecasting approach is given by
       0 = E[ ut ] = E[ ut Dt ] = E[ ut Xt ] = E[ ut Dt Xt ]                (A.9)
                                                               
                                                                                      OC * = E[ Yt (1) DtQt ] − E[ Yt (0) DtQt ] = E[ Yt DtQt ]
       0 = E[ vt ] = E[ vt Dt ] = E[ vt Xt ] = E[ vt Dt Xt ]               (A.10)           =− E[ ( α + β′Xt + vt ) DtQt ] = πY − π 1 α − π′X β − E[ vt DtQt ]
                                                               

    These assumptions imply that the regression residu-                                  To see how this characterization is related to
als εt = utDt+vt(1–Dt) satisfy 0 = E[ εt ] = E[ εt Xt ] = E[ εt Dt ]                consistency of the forecasting approach, note that
=E[ εt Dt Xt ], i.e., that α+β′Xt+δDt+γ′DtXt is the best linear                     = π
                                                                                    FC    ˆY −π
                                                                                              ˆ 1α  ˆ ′X ˆβ converges in probability to πY–π1α–
                                                                                                 ˆ −π
predictor of Yt = DtYt(1)+(1–Dt)Yt(0) given Xt, Dt, and DtXt.                       π′X β by continuity of probability limits. So consistency of
When the regression models are weighted, we modify the                              
                                                                                    FC   for OC* follows if
assumptions above to
                                                                                                                  E[ vt DtQt ] = 0
  0 = E[ utQt ] = E[ ut DtQt ] = E[ ut XtQt ] = E[ ut Dt XtQt ]            (A.11)
                                                                       
                                                                                          Sufficient conditions for this conclusion include:
  0 = E[ vtQt ] = E[ vt DtQt ] = E[ vt XtQt ] = E[ vt Dt XtQt ]            (A.12)
                                                                                   quantity is constant at Q as then E[ vt DtQt ] = QE[ vt Dt ]
                                                                                    [cf., Equation (A.10)]; the regression is quantity-weighted
    In other words, we assume that, when the economist
                                                                                    [cf., Equation (A.12)]; or the covariance during the con-
chooses to weight, weighting is in fact appropriate. We
                                                                                    spiracy between quantity and unmeasured influences
now prove the lemma and propositions from the main
                                                                                    on the but-for price is zero, i.e., 0 = C[ vt , Qt | Dt = 1],
text.
                                                                                    since by the law of total probability we have
                                                                                    E[ vt DtQt ] = E[ Dt ] E[ vtQt | Dt = 1] = E[ Dt ] C[ vt , Qt | Dt = 1]
Proof of Lemma: Using Equations (A.5), (A.6), and (A.8),
                                                                                    (cf., Assumptions 1 and 1′).
we have
                                                                                          Turning to the dummy variable approach, we give our
 = 1 D Q ( ˆδD + ˆγ D X +ˆε ) = π               1 T
        T
                         ′ t t t ˆ 1ˆδ+ π                                           second characterization of the estimand. We have
FC     ∑
     T t =1  t t     t
                                        ˆ ′X ˆγ + ∑DtQtˆεt
                                                 T t =1
            1  T                                                                    OC * = E[ { δ+ γ′Xt + ut − vt } DtQt ]= δπ 1 + γ ′π X + E[( ut − vt ) DtQt ]
     +
   = OC  1    ∑D Q ˆε .
            T t =1 t t t                                                      □
                                                                                                                                                         (A.13)

Proof of Proposition 1: Applying the Lemma, note                                         To see how this characterization is related to con-
that when quantity is constant, say Qt = Q , we have                                sistency of the dummy variable approach, note that


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 = ˆδπ
OC    ˆ 1 + ˆγ′π
               ˆ X converges in probability to δπ1+γ′πX by
   1                                                                   and (A.12)]; the covariance between quantity and unmeas-
continuity of probability limits. So consistency of the                ured influences on price during the conspiracy is zero, both
dummy variable approach follows if                                     for actual price and for but-for prices (cf., Assumption 1);
                                                                       or the covariance during the conspiracy between quantity
                       E[( ut − vt ) DtQt ] = 0
                                                                       and unmeasured influences on price would have been the
                                                                       same for actual and but-for price, since by the logic above
    Sufficient conditions for this conclusion include:
                                                                       E[( ut − vt ) DtQt ] = E[ Dt ]{ C[ ut , Qt | Dt = 1] − C[ vt , Qt | Dt = 1] }
quantity is constant at Q [cf., Equations (A.9) and (A.10)];
the regression is quantity-weighted [cf., Equations (A.11)             (cf., Assumption 2).                                                       □



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